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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


MARTY SMALL, SR. and LAQUETTA SMALL,                  :
                                                             Hon. Joseph H. Rodriguez
                                                      :
              Plaintiffs,                                    Civ. No. 21-8665
                                                      :
              v.
                                                      :
CRAIG CALLAWAY and JOHN DOES 1-5
                                                      :      ORDER
              Defendants.
                                                      :



       These matters having come before the Court on Defendant’s Motion to Dismiss

[Dkt. No. 5] and on Plaintiffs’ Motion to Remand [Dkt. No. 7]; and the Court having

considered the written submissions pursuant to Fed. R. Civ. P. 78; and for the reasons

set forth in the Court’s Opinion of even date,

       IT IS on the 7th day of February 2022 hereby

       ORDERED that Plaintiffs’ Motion to Remand [Dkt. No. 7] is granted; and it is

further

       ORDERED this matter be REMANDED to the Superior Court of New Jersey,

Atlantic County Vicinage, Law Division.




                                          /s/ Joseph H. Rodriguez
                                          HON. JOSEPH H. RODRIGUEZ,
                                          United States District Judge
